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10
     JEFF GODOWN, DONALD PERRIER, JOJO MERCADO,
11   PETER PHAM, JAMES FORTUNE, RONEIL SINGH,
     and JABARI SCOTT
12
                                       UNITED STATES DISTRICT COURT
13
                                    NORTHERN DISTRICT OF CALIFORNIA
14
     SARU JAYARAMAN, STEPHEN YOUNG,                                    Case No.: 4:20-CV-00685-VC
15   MARTIN BOYDEN, ZACH NORRIS, DEIRDRE
     SNYDER, MIKE LOUDEN, AMY HARUYAMA,                                DEFENDANTS’ NOTICE OF
16
     and ERIC PETTENGILL,                                              MOTION AND MOTION FOR
17                                                                     JUDGMENT ON THE PLEADINGS
                      Plaintiffs,                                      OR, IN THE ALTERNATIVE,
18                                                                     MOTION TO STRIKE PLAINTIFFS’
19
             vs.                                                       REQUEST FOR INJUNCTIVE
                                                                       RELIEF
20   OAKLAND UNIFIED SCHOOL DISTRICT; JEFF
     GODOWN, POLICE CHIEF; DONALD PERRIER,                             [Fed. R. Civ. Pro. 12(c) & (f)]
21   POLICE SERGEANT, JOJO MERCADO, PETER
22   PHAM, JAMES FORTUNE, RONEIL SINGH, and
     JABARI SCOTT,                                                     Date: October 29, 2020
23                                                                     Time: 10:00 a.m.
                      Defendants,                                      Judge: Vince Chhabria
24
                                                                       Crtrm: 4 – 17th Floor
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1    TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
2            PLEASE TAKE NOTICE that on October 29, 2020, at 10:00 a.m., or as soon
3    thereafter as the matter may be heard in Courtroom 4 of the above-entitled court, located at
4    450 Golden Gate Avenue, San Francisco, California, defendants OAKLAND UNIFIED
5    SCHOOL DISTRICT, JEFF GODOWN, DONALD PERRIER, JOJO MERCADO, PETER
6    PHAM, JAMES FORTUNE, RONEIL SINGH, and JABARI SCOTT (collectively
7    “Defendants”), will and hereby do move this Court, pursuant to Rule 12(c) of the Federal
8    Rules of Civil Procedure, for an order granting judgment on the pleadings on the request for
9    injunctive relief contained in Plaintiffs’ Second Amended Complaint. In the alternative,
10   Defendants move, pursuant to Rule 12(f) of the Federal Rules of Civil Procedure, to strike
11   Plaintiffs’ request for injunctive relief. This motion is brought on the ground that Plaintiffs
12   have not alleged facts sufficient to confer Article III standing to seek injunctive relief under
13   City of Los Angles v. Lyons, 461 U.S. 95 (1983).
14           This motion is based on this Notice of Motion and Motion, the Memorandum of
15   Points and Authorities set forth below, Defendants’ Request for Judicial Notice, and all
16   pleadings in this action, as well as any evidence or arguments that may be offered in the brief
17   in reply or at a hearing on the motion.
18   Dated: September 24, 2020                            LEONE & ALBERTS
19

20
                                                      By:____________________________
21                                                       LOUIS A. LEONE, ESQ.
                                                         CLAUDIA LEED, ESQ.
22
                                                         SETH L. GORDON, ESQ.
23                                                       Attorneys for Defendants

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1                                                  INTRODUCTION
2             This action is brought by several members of a group that was formed to protest school
3    closures in Oakland, California. 1 Plaintiffs allege that they attended a school board meeting held
4    by the Oakland Unified School District (the “District”) on October 23, 2019. (Second Amended
5    Complaint (“SAC”) ¶ 27 (ECF No. 39)). At the meeting, due to prior disruptions by protestors,
6    the District set up a metal barrier between the public speaker podium and the stage where the
7    board members were seated to protect the Board and to prevent protestors from accessing the
8    stage where the board members were located and disrupting the meeting. Indeed, Plaintiffs allege
9    that the District positioned a metal barrier around the stage where the board members were
10   seated, blocking members of the audience (and protestors) from getting onto the stage. (SAC ¶
11   27). They allege that police officers employed by the District were present at the meeting and
12   stood between the metal barrier and the stage where the board members were seated. (Id.) They
13   admit that some of the Plaintiffs attempted to get past the barrier—set up by law enforcement—
14   to conduct protest activities on the stage where the board members were seated. (Id., ¶ 29).
15   Plaintiffs claim that, when they began engaging in “civil disobedience” at the board meeting,
16   they were “attacked” by officers employed by the District. 2 (Id., ¶ 30).
17            Based on these allegations, Plaintiffs bring this action against the District, District Chief
18   of Police Jeff Godown, and several officers employed by the District. 3 Based on the actions that
19   occurred at the October 23, 2019 board meeting, Plaintiffs assert eight claims for relief: (1) First
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      The eight named plaintiffs in this action are Saru Jayaraman, Stephen Young, Martin Boyden,
22   Zach Norris, Deirdre Snyder, Mike Louden, Amy Haruyama, and Eric Pettengill (collectively
     “Plaintiffs”)
23
     2
24    California school districts are authorized to establish their own police departments pursuant to
     Education Code § 38000. In other words, the officers named in this action are not municipal
25   police officers. Rather, they are employees of the Oakland School Police Department, which is a
26
     subdivision of District, making them District employees.
     3
27    The named defendants in this action are the District, Chief of Police Jeff Godown, Sergeant
     Donald Perrier, and police officers Jojo Mercado, Peter Pham, James Fortune, Roneil Singh, and
28   School Security Officer Jabari Scott.
                                                    6
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1    Amendment Retaliation under 42 U.S.C. § 1983 against the individual officers; (2) Excessive
2    Force under § 1983 against the individual officers; (3) Failure to Intervene under § 1983 against
3    Chief Godown and Sergeant Perrier; (4) violation of the California Bane Act (Cal. Civ. Code §
4    52.1) against all Defendants; (5) False Arrest and False Imprisonment under state law against all
5    Defendants; (6) Battery against all Defendants; (7) Negligence against all Defendants; and (8)
6    Negligent Hiring, Training, and Supervision against the District, Chief Godown and Sergeant
7    Perrier.
8               None of the eight claims in the SAC indicate that Plaintiffs are seeking injunctive relief
9    as part of the individual claims. Yet, in the prayer for relief, in addition to damages, Plaintiffs
10   seek “Injunctive relief.” ECF No. 39 p. 17. Plaintiffs do not elaborate in the SAC what
11   “injunctive relief” they are seeking in this action.
12              Defendants bring this motion to dismiss (with prejudice) or strike Plaintiffs’ request for
13   injunctive relief. 4 Plaintiffs’ request for injunctive relief suffers from multiple defects. First,
14   Plaintiffs’ failure to articulate what conduct they are seeking to enjoin does not satisfy the
15   pleading requirements of Rule 8 of the Federal Rules of Civil Procedure. See McHenry v. Renne,
16   84 F.3d 1172, 1178 (9th Cir. 1996) (noting that Rule 8 requires a plaintiff to articulate “who is
17   being sued, for what relief, and on what theory,” showing the plaintiff is entitled to the relief he
18   or she seeks); G.B. v. Chico Unified Sch. Dist., 2008 U.S. Dist. LEXIS 103170 *6-7 (E.D. Cal.
19   Dec. 22, 2008) (striking prayer for injunctive relief on ground that it was not clear what conduct
20   the plaintiff sought to enjoin); Ward v. IPEX, Inc., 2009 U.S. Dist. LEXIS 11040 *14-15 (C.D.
21   Cal. Feb. 4, 2009) (same).
22              More importantly, to obtain injunctive relief, Plaintiffs must plead and prove “a real and
23   immediate threat of repeated injury.” City of Los Angeles v. Lyons, 461 U.S. 95, 102, 110
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       As explained below, there is conflicting authority in the Ninth Circuit as to whether the proper
     mechanism to challenge a request for injunctive is through a motion to dismiss under Rule
27   12(b)(6) or a motion to strike under Rule 12(f). Given this conflicting authority, Defendants
     attack the request for injunctive relief in the alternative under both rules.
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1    (1983) (emphasis added) (holding that district court properly dismissed claim for injunctive relief
2    in excessive force case where plaintiff had not plausibly alleged that he would subject to
3    excessive force by officers again in the future). Indeed, the U.S. Supreme Court has made clear
4    that, where a plaintiff fails to plead facts sufficient to show “a real and immediate threat of
5    repeated injury,” the plaintiff does not have standing under Article III to seek injunctive relief.
6    Lyons, 461, U.S. at 111; see also Haro v. Sebelius, 729 F.3d 993, 1001 (9th Cir. 2013) (“In order
7    to demonstrate Article III standing” for injunctive relief, a plaintiff must plead and prove a
8    “concrete injury” “coupled with a sufficient likelihood that he will again be wronged in a similar
9    way.”) (internal quotation marks omitted).
10           Here, Plaintiffs have alleged that the District officers used excessive force on a single
11   occasion. Plaintiffs have not alleged that the District officers acted pursuant to an unlawful
12   policy of the District. They have not alleged that District officers used excessive force in similar
13   situations either before or after the October 23, 2019 board meeting. And they have not alleged
14   any facts suggesting that Plaintiffs may suffer similar injury in the future.
15           Finally, and perhaps most significantly, the facts subject to judicial notice show (1) that
16   no in-person board meetings are being conducted by the Oakland Unified School District during
17   the COVID-19 pandemic, and (2) on June 24, 2020, the District Board of Education passed a
18   resolution eliminating the District’s police force in its entirety. Def.s’ Request for Judicial Notice
19   (“RJN”), Exs. A through E. In other words, even if Plaintiffs plan on future protests (which they
20   have not alleged), and even if they could protest in person at the Board Meetings (which they
21   cannot during the COVID-19 pandemic), there would be no threat of interaction with District
22   police because the District’s police department will almost certainly cease to exist by the time in-
23   person board meetings resume.
24           In sum, given the allegations in the operative SAC and the facts subject to judicial notice,
25   Plaintiffs have not alleged facts sufficient to show a “real and immediate” threat of repeated
26   similar injury. As such, under the Supreme Court’s ruling in Lyons, Plaintiffs lack standing to
27   pursue their claim for injunctive relief and the request should be dismissed or stricken with
28   prejudice.
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1                                           FACTUAL ALLEGATIONS 5
2             Plaintiffs are parents and educators of students within the Oakland Unified School
3    District (the “District”). SAC ¶ 1 (ECF No. 39). On October 23, 2019, Plaintiffs attended a
4    meeting held by the District Board of Education “to contest a plan to close several Oakland
5    public schools.” Id., ¶ 2. In anticipation of the meeting, because the District was aware that
6    attendees planned on protesting, the District “arranged for members of its Police Department
7    including Chief Jeff Godown and Sergeant Donald Perrier to set up metal barriers around the
8    speaker’s podium to separate the stage and dais from the auditorium[.]” Id., ¶ 27 (capitalization
9    of names omitted). Chief Godown, Sergeant Perrier, and other officers “stood between the metal
10   barriers and the dais where the members of the Board of Education sat.” Id.
11            According to Plaintiffs, plaintiff Jayaraman stood next to a speaker at the podium and led
12   a chant while attempting to display a banner from the steps of the dais, “which was blocked by
13   the metal barriers.” SAC ¶ 29. “Plaintiff ZACH NORRIS attempted to stand in solidarity on the
14   same steps.” Id. 6 Plaintiffs Young, Boyden, Snyder, Louden, Haruyama, and Pettengill “were
15   positioned near the metal barriers on either side of the podium and chanted.” Id.
16            Plaintiffs then allege in conclusory fashion that, during the “civil disobedience,” Chief
17   Godown, Sergeant Perrier, and other officers “attacked the parents and educators.” SAC ¶ 30.
18            Plaintiffs allege that they attended another board meeting on November 13, 2019, where
19   they again “began expressing their dismay.” SAC ¶ 41. Notably, there is no allegation that
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      The facts set forth in this section are Plaintiffs’ allegations and assumed true only for purposes
     of this motion. Defendants do not concede the truth of the allegations or that evidence exists to
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     support the allegations.
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       While Plaintiffs were careful in how they framed the allegations in the SAC and they do not
25   explicitly state that Plaintiffs Jayaraman and Norris jumped over the police barricade to get to the
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     stage where the board members were seated, they seem to admit that this is exactly what happed
     by alleging that the police barrier was in front of the stage and that both Jayaraman and Norris
27   made their way onto the steps of the stage to protest. In other words, the only logical inference
     that can be drawn from the allegations is that Plaintiffs Jayaraman and Norris breached the
28   barricade to get onto the steps of the stage.
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1    District police were present at the November 13, 2019 board meeting, or that there was any
2    interaction between Plaintiffs and officers at that meeting. Id.
3             Based on these allegations, Plaintiffs bring eight claims for relief, all of which are based
4    on the allegedly unlawful conduct that occurred at the October 23, 2019 board meeting. The
5    eight claims asserted by Plaintiffs are:
6             1.      First Amendment Retaliation under 42 U.S.C. § 1983 (all Plaintiffs against all
7                     defendants other than the District); 7
8             2.      Excessive Force under 42 U.S.C. § 1983 (all Plaintiffs against all defendants other
9                     than the District);
10            3.      Failure to Intervene under 42 U.S.C. § 1983 (all Plaintiffs against Defendants
11                    Godown and Perrier); 8
12            4.      Violation of the Bane Act (Cal. Civ. Code § 52.1) (all Plaintiffs against all
13                    Defendants); 9
14            5.      False Arrest & False Imprisonment (Plaintiffs Jayaraman, Young, Boyden,
15                    Norris, Snyder, and Louden against all Defendants);
16            6.      Battery (all Plaintiffs against all Defendants);
17            7.      Negligence (all Plaintiffs against all Defendants);
18            8.      Negligent Hiring, Training and Supervision (all Plaintiffs against the District,
19                    Chief Godown and Sergeant Perrier).
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       Plaintiffs originally named the District as a defendant in this action (ECF No. 1), but
22   subsequently removed the District from all claims asserted under 42 U.S.C. § 1983 based on the
     well-settled law that school districts are considered arms of the state under California law and
23
     therefore not “persons” amenable to suit under § 1983. See e.g., Carmen v. San Francisco
24   Unified Sch. Dist., 982 F.Supp. 1396, 1403 (N.D. Cal. 1997).

25   8
      This claim is based on the allegation that Defendants Godown and Perrier witnessed their
26
     subordinates using excessive force and should have intervened. SAC ¶ 55.
     9
27     The Bane Act is an anti-hate crime statute that protects rights secured by the Constitution from
     interference by way of threats, intimidation, or coercion. Jones v. Kmart Corp., 17 Cal.4th 329,
28   338 (1988).
                                                      10
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1            All of Plaintiffs claims are framed in the past tense and relate to the October 23, 2019
2    board meeting. SAC ¶ 46 (“[p]laintiffs were engaged in constitutionally protected activity when
3    defendants … violently attacked them”); SAC ¶ 51 (“defendants … violently assaulted plaintiffs
4    … depriving plaintiffs of their right under the Fourth Amendment”); SAC ¶ 55 (“Defendants
5    [Godown and Perrier] witnessed their subordinates using unlawful and excessive force … and
6    failed to intervene”); SAC ¶ 59 (“defendants … interfered by threats, intimidation, or coercion
7    with the rights of [Plaintiffs]”); SAC ¶ 63 (“defendants … arrested and imprisoned plaintiffs”);
8    SAC ¶ 69 (“defendants … intentionally subjected plaintiffs … to harmful or offensive contact”);
9    SAC ¶¶ (“defendants … breached their duty to not use excessive force”) and (“defendants …
10   negligently hired, trained and supervised [officers]”).
11           None of the eight claims indicate that Plaintiffs are seeking injunctive relief in connection
12   with any specific claim. Plaintiffs do not allege any ongoing conduct that they believe is illegal.
13           At the end of the SAC, Plaintiffs allege that, “[a]s a result of the actions of defendants,
14   plaintiffs have been injured and have suffered damages[.]” SAC ¶ 85. Plaintiffs then include a
15   request for general damages, special damages, punitive damages, attorney’s fees, and injunctive
16   relief. ECF No. 39 p. 17. Plaintiffs do not elaborate on what conduct they seek to enjoin.
17                                FACTS SUBJECT TO JUDICIAL NOTICE
18           On March 12, 2020, Governor Gavin Newsom issued an Executive Order in response to
19   the COVID-19 pandemic authorizing local legislative bodies (such as the District) to hold
20   meetings via teleconference. Def.s’ RJN, Ex. A (Executive Order N-25-20 ¶ 11). On March 19,
21   2020, the District held its first virtual board meeting pursuant to Executive Order N-25-20 due to
22   the COVID-19 pandemic. Def.s’ RJN, Ex. B. There have been no in-person board meetings since
23   March 19, 2020, and there is no end date to the Governor’s authorization of public agencies to
24   conduct board meetings virtually.
25           On June 24, 2020, the District Board of Education adopted “Resolution No. 1920-0260 –
26   George Floyd Resolution to Eliminate the Oakland Schools Police Department.” Def.’s RJN, Ex.
27   C. On the same date, the District Board of Education voted to lay off all 67 members of the
28   District police department, including Chief Godown, effective December 31, 2020. Def.s’ RJN,
                                                    11
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1    Ex. D. As with all board meetings since March 19, 2020, the meeting on June 24, 2020 was held
2    virtually. Def.s’ RJN, Ex. E.
3                                     ATTEMPT TO MEET AND CONFER
4            On September 2, 2020, defense counsel reached out to Plaintiffs’ counsel to meet and
5    confer on Plaintiffs’ request for injunctive relief. Decl. of Claudia Leed, ¶ 2. Defense counsel
6    informed Plaintiffs’ counsel that Defendants planned on filing a motion to address Plaintiffs’
7    request for injunctive relief and requested that Plaintiffs’ stipulate to the specific actions they
8    would like imposed on the District to assist the Court in addressing the matter. Id. Plaintiffs’
9    counsel refused and went so far as to threaten sanctions under Rule 11 if Defendants proceeded
10   with the motion. Id.
11                                                    ARGUMENT
12   I.      Legal Standard
13           There is conflicting authority from the Northern District of California as to whether a
14   challenge to a request for injunctive relief should be made through a motion to dismiss under
15   Rule 12(b)(6) or a motion to strike under Rule 12(f). See Mou v. SSC San Jose Operating Co.
16   LP, 415 F.Supp.3d 918, 932-933 (N.D. Cal. 2019) (granting motion to strike request for
17   injunction under Rule 12(f)); but see Grayson v. County of Marin, 2015 U.S. Dist. LEXIS
18   19984 *5-6 (N.D. Cal. Feb. 18, 2015) (denying motion to strike prayer for injunctive relief and
19   suggesting that a motion attacking such should be through a motion to dismiss under Rule
20   12(b)(6).)
21           Given this conflicting authority, and in an abundance of caution, Defendants bring this
22   motion as a motion for judgment on the pleadings under Rule 12(c), 10 or in the alternative, a
23   motion to strike under Rule 12(f).
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      Given that Defendants have already filed an answer to Plaintiffs’ SAC, Defendants bring this
28   motion under Rule 12(c) rather than 12(b)(6).
                                                   12
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1             To survive a motion for judgment on the pleadings under Rule 12(c), which is subject
2    to the same standards applicable to motions brought under Rule 12(b)(6), 11 a plaintiff’s
3    complaint “must contain sufficient factual matter . . . to ‘state a claim to relief that is plausible
4    on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v.
5    Twombly, 550 U.S. 554, 570 (2007)). In ruling on the motion, the court is not required to
6    accept legal conclusions “couched as [] factual allegation[s],” Papasan v. Allain, 478 U.S. 265
7    U.S. 265, 286 (1986) (quoted in Twombly, 550 U.S. at 555), nor is the court “required to accept
8    as true allegations that are merely conclusory, unwarranted deductions of fact, or unreasonable
9    inferences.” Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001). In sum, the
10   court may grant a motion for judgment on the pleadings “based on the lack of [a] cognizable
11   legal theory or the absence of sufficient facts alleged under a cognizable legal theory.”
12   Balisteri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1990).
13            As to Rule 12(f), the rule permits the court to “strike from a pleading an insufficient
14   defense or any redundant, immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f).
15            For the reasons set forth below, Plaintiffs have not alleged facts sufficient to confer
16   Article III standing to seek injunctive relief in this case. As such, judgment should be entered
17   in favor of Defendants on the request under Rule 12(c) or, in the alternative, the Court should
18   strike the request under Rule 12(f). Whether dismissed or stricken, the request for injunctive
19   relief should be eliminated with prejudice.
20   II.      Plaintiffs Have Not Sufficiently Pleaded Entitlement to Injunctive Relief
21            Rule 8 of the Federal Rules of Civil Procedure provides that complaints in federal court
22   “must contain” “a short and plain statement of the claim showing that the pleader is entitled to
23   relief.” Fed. R. Civ. P. 8(a)(2). Under this rule, a complaint must set forth coherently who is
24   being sued, for what relief, and enough factual detail that, if true, would entitle the plaintiff to
25   the requested relief. See McHenry v. Renne, 84 F.3d 1172, 1178 (9th Cir. 1995).
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28   11
          See Cafasso v. General Dynamics C4 Systems, Inc., 637 F.3d 1047, 1054 n.4 (9th Cir. 2011).
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1             Here, Plaintiffs’ SAC is entitled “Second Amended Complaint for Damages and
2    Injunctive Relief,” 12 and Plaintiffs’ prayer for relief seeks “Injunctive relief.” Yet, Plaintiffs do
3    not specify what conduct they seek to enjoin or otherwise specify what injunctive relief they
4    are seeking in this case. Not surprisingly, multiple courts have held that a bald request for
5    injunctive relief—without specifying what relief is actually sought—fails to satisfy Rule 8’s
6    pleading requirements. G.B. v. Chico Unified Sch. Dist., 2008 U.S. Dist. LEXIS 103170 *6-7
7    (E.D. Cal. Dec. 22, 2008) (striking prayer for injunctive relief on ground that it was not clear
8    what conduct the plaintiff sought to enjoin); Ward v. IPEX, Inc., 2009 U.S. Dist. LEXIS 11040
9    *14-15 (C.D. Cal. Feb. 4, 2009) (same).
10            This issue is particularly frustrating to Defendants because, as mentioned above,
11   defense counsel asked Plaintiffs’ counsel to enter into a stipulation disclosing to the Court what
12   injunctive relief Plaintiffs are seeking in order to aid the Court in addressing the viability of the
13   request, and Plaintiffs’ counsel refused. Decl. of Leed, ¶ 2. Nevertheless, because Plaintiffs
14   have failed to identify what conduct they seek to enjoin in this case, they have not satisfied
15   Rule 8’s requirement to provide “a short and plain statement” demonstrating that they are
16   entitled to the relief sought. As such, the request should be dismissed or stricken from the SAC.
17   III.     Plaintiffs’ Lack Standing to Seek Injunctive Relief
18            “Article III of the U.S. Constitution authorizes the judiciary to adjudicate only ‘cases’
19   and ‘controversies.’” Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 967 (9th Cir. 2018).
20   “The doctrine of standing is ‘an essential and unchanging part of the case-or-controversy
21   requirement of Article III.’” Id. (quoting Lujan v. Defs. Of Wildlife, 504 U.S. 555, 560 (1992).
22   To establish standing, a plaintiff “bears the burden of demonstrating that her injury-in-fact is
23   ‘concrete, particularized, and actual or imminent; fairly traceable to the challenged action; and
24   redressable by a favorable ruling.’” Id. (quoting Monsanto Co. v. Geertson Seed Farms, 561
25   U.S. 139, 149 (2010).
26

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28   12
          ECF No. 39 p. 1 (emphasis added).
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1            “A plaintiff must demonstrate constitutional standing separately for each form of relief
2    requested.” Davidson, 889 F.3d at 967 (emphasis added) (citing Friends of the Earth, Inc. v.
3    Laidlaw Envtl. Servs. (TOC) Inc., 528 U.S. 167, 185 (2000)). “For injunctive relief, which is a
4    prospective remedy, the threat of injury must be ‘actual and imminent, not conjectural or
5    hypothetical.’” Id., (quoting Summers v. Earth Island Inst., 555 U.S. 488, 493 (2009). “In other
6    words, the ‘threatened injury must be certainly impending to constitute injury in fact’ and
7    ‘allegations of possible future injury are not sufficient.’ Id., (initial italics in original, bold
8    italics added) (quoting Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013). Put simply, to
9    be entitled to injunctive relief, a plaintiff must show, as a threshold matter, “a real and
10   immediate threat of repeated injury.” Lyons, 461 US. At 102 (emphasis added).
11           The Supreme Court’s decision in City of Los Angles v. Lyons, 461 U.S. 95 (1983) is
12   instructive—and ultimately dispositive—of this issue. There, the plaintiff alleged that he was
13   involved in a traffic stop and that, without provocation or justification, the officers who
14   stopped him put him in a “chokehold.” Id., at 97-98. Following the incident, the plaintiff filed
15   suit against the City of Los Angeles and four of its police officers. Id., at 97. The plaintiff
16   sought damages, declaratory relief, and an injunction against the City barring the use of control
17   holds in situations where the suspect was not resisting. Id., at 97-98. The defendants filed a
18   motion for judgment on the pleadings on the claim for injunctive relief, the district court
19   granted the motion, and the plaintiff appealed. Id., at 98-99.
20           Following some procedural wrangling that is irrelevant to the present motion, Lyons
21   made its way to the U.S. Supreme Court. The issue before the Court was “whether [the
22   plaintiff] satisfied the prerequisites for seeking injunctive relief in the Federal District Court.”
23   Id., at 97. Ultimately, the Court held that the plaintiff did not have standing to seek injunctive
24   relief. In doing so, the Court made a number of statements that apply in this case. The Court
25   explained that the plaintiff’s “standing to seek the injunction requested depended on whether
26   he was likely to suffer future injury form the use of the chokeholds by police officers.” Id., at
27   105 (emphasis added). The Court further explained that, while the “choking incident” provided
28   the plaintiff with standing to seek damages against the individual officers, the incident “does
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1    nothing to establish a real and immediate threat that he would again be stopped for a traffic
2    violation, or for any other offense, by an officer or officers who would illegally choke him into
3    unconsciousness without any provocation or resistance on his part.” Id. (emphasis added).
4            According to the High Court in Lyons, “to establish an actual controversy … [the
5    plaintiff] would have had not only to allege that he would have another encounter with the
6    police but also to make the incredible assertion either (1) that all police officers in Los Angeles
7    always choke any citizen with whom they happen to have an encounter … or (2) that the City
8    ordered or authorized police officers to act in such manner.” Id., at 106 (emphasis in original).
9    Significantly, the Court pointed out that the plaintiff had alleged that the city authorized the use
10   of control holds in situations where deadly force was not threatened, but that allegation was not
11   enough to show that the plaintiff would be “realistically threatened” by police officers again.
12   Id. Ultimately, the Court held that the plaintiff lacked standing to seek injunctive relief because
13   (1) he had not alleged facts showing that there was a likelihood that he would “again be
14   wronged in a similar way,” and (2) he had an adequate legal remedy to challenge the allegedly
15   illegal conduct (i.e., his claim for damages). Id., at 111.
16           The Ninth Circuit Court of Appeals has applied Lyons on multiple occasions. Updike v.
17   Multnomah Cnty., 870 F.3d 939, 947 (9th Cir. 2017) (“Updike has not met his burden of
18   showing that he State’s allegedly wrongful behavior will likely recur”); Raiser v. City of L.A.,
19   698 Fed. Appx. 412, 412-413 (9th Cir. 2017) (affirming dismissal of request for injunctive
20   relief in excessive force case based on Lyons); Breck v. Doyle, 796 Fed. Appx. 333, 336 (9th
21   Cir. 2019) (affirming dismissal of request for declaratory and injunctive relief because the
22   plaintiff had not pleaded facts showing he was in immediate danger of sustaining repeated
23   injury); OTR Wheel Eng’g, Inc. v. W. Worldwide Servs., 2020 U.S. App. LEXIS 25840 *4
24   (9th Cir. Aug. 14, 2020) (“there is no ‘cognizable danger of recurrent violation’ such that the
25   requested injunctive relief is warranted”).
26           The decision in Lyons is on all fours with this case. Here, like Lyons, Plaintiffs claim
27   that they were subjected to excessive force on a single occasion. Here, like Lyons, Plaintiffs
28   have failed to allege facts sufficient to show a “real and immediate” threat that they would be
                                                       16
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1    subjected to a repeated violation. And, as in Lyons, Plaintiffs seek damages for the allegedly
2    unlawful conduct, which belies the assertion that Plaintiffs lack an adequate remedy at law.
3            Indeed, the facts in this case present a much stronger argument that Plaintiffs lack
4    standing to pursue injunctive relief than those in Lyons. As set forth above, the District has not
5    been holding in-person board meetings since March 19, 2020 because of the COVID-19
6    pandemic. Def.s’ RJN, Exs. A, B, & E. Thus, even if Plaintiffs had alleged that they plan on
7    continuing to protest at the school board meetings, which they have not alleged, they could not
8    do so in person for the foreseeable future. Moreover, the facts subject to judicial notice also show
9    that, on June 24, 2020, the District Board of Education adopted “Resolution No. 1920-0260 –
10   George Floyd Resolution to Eliminate the Oakland Schools Police Department” and, on the same
11   day, the Board voted to lay off all 67 members of the District police department, including Chief
12   Godown, effective December 31, 2020. Def.s’ RJN, Ex. C & D. In other words, not only have
13   Plaintiffs failed to plead facts sufficient to show a “real and immediate” threat of repeated harm,
14   the facts subject to judicial notice demonstrate that there is—in reality—zero chance of repeated
15   harm because the District is not holding in-person board meetings and the District Police
16   Department has been eliminated.
17                                                   CONCLUSION
18           For the reasons set forth above, the allegations in the operative Second Amended
19   Complaint and facts subject to judicial notice demonstrate that Plaintiffs do not have Article III
20   standing to seek injunctive relief in this action. As such, Defendants motion for judgment on the
21   pleadings should be granted and judgment should be entered in favor of Defendants on Plaintiffs’
22   request for injunctive relief.
23   Dated: September 24, 2020                            LEONE & ALBERTS
24

25
                                                      By: __________________________________
26                                                       CLAUDIA LEED, ESQ.
27
                                                         SETH L. GORDON, ESQ.
                                                         Attorneys for Defendants
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